                                              Case 8:13-cv-01503-JLS-AN Document 61-2 Filed 01/21/15 Page 1 of 40 Page ID #:646



                                                             1    HOLLAND & KNIGHT LLP
                                                                  Shelley G. Hurwitzth (State Bar #217566)
                                                             2    400 S. Hope St., 8 Floor
                                                                  Los Angeles, California 90071-2040
                                                             3    Telephone (213) 896-2400
                                                                  Facsimile (213) 896-2450
                                                             4
                                                             5    Attorneys for Defendant, Cross-Complainant,
                                                                  and Cross-Defendant Victor Technologies
                                                             6    International, Inc., erroneously sued herein as Victor
                                                                  Technologies International, Inc.; Turbotorch
                                                             7
                                                             8                              UNITED STATES DISTRICT COURT
                                                             9          CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
                                                             10
                                                             11 MITCHELL WALTER,                              CASE NO. SACV 13-1503 JLS (ANx)
                                                                                                              DECLARATION OF SHELLEY
                       Tel: 213.896.2400 Fax: 213.896.2450




                                                             12                Plaintiff,
                          400 South Hope Street, 8th Floor




                                                                                                              HURWITZ IN SUPPORT OF
Holland & Knight LLP




                                                             13         v.                                    MOTION TO ENFORCE
                              Los Angeles, CA 90071




                                                                                                              SETTLEMENT AGREEMENT
                                                             14 WESTERN INDUSTRIES, INC.,
                                                                VICTOR TECHNOLOGIES
                                                             15 INTERNATIONAL, INC.,                          Date: March 20, 2015
                                                                TURBOTORCH; GOSS, INC. and                    Time: 2:30 pm
                                                             16 DOES 1 through 100, Inclusive,                Courtroom 10a
                                                             17                Defendants.
                                                             18
                                                                                                              Trial Date:       May 12, 2015
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                                              Case 8:13-cv-01503-JLS-AN Document 61-2 Filed 01/21/15 Page 2 of 40 Page ID #:647



                                                             1                         DECLARATION OF SHELLEY HURWITZ
                                                             2          1. I, Shelley Hurwitz, am a partner at Holland & Knight, counsel of record for
                                                             3    defendant and cross-defendant Victor Technologies International, Inc. ("Victor"). I
                                                             4    have personal knowledge of the matters stated herein, except for those matters stated
                                                             5    on information and belief, and I could truthfully testify thereto.
                                                             6          2. Plaintiff Mitchell Walter (“Plaintiff”) is represented in this matter by Kevin
                                                             7    Liebeck.
                                                             8          3. All parties participated in mediation on September 30, 2014. No parties
                                                             9    settled during the mediation.
                                                             10         4. In late December 2014, Mr. Liebeck and I began negotiating a settlement of
                                                             11 Plaintiff’s claims against Victor. We exchanged several offers and demands by
                       Tel: 213.896.2400 Fax: 213.896.2450




                                                             12 telephone. On or about December 29, 2014, I called Mr. Liebeck and made a
                          400 South Hope Street, 8th Floor
Holland & Knight LLP




                                                             13 settlement offer from Victor to Plaintiff of a payment of $27,500 in exchange for the
                              Los Angeles, CA 90071




                                                             14 dismissal of Plaintiff’s claims against Victor. Mr. Liebeck confirmed that he would
                                                             15 speak to his client about this offer, and that he would get back to me. I also advised
                                                             16 Mr. Liebeck during that call that Victor would be moving for a good faith settlement
                                                             17 determination once he accepted Victor’s settlement offer.
                                                             18         5. Mr. Liebeck then emailed me on December 30, 2014 and accepted, in
                                                             19 writing, and on his client’s behalf, Victor’s offer to settle this action for $27,500.
                                                             20 Attached hereto as Exhibit 1is a true and correct copy of an email that I received from
                                                             21 Mr. Liebeck on December 30, 2014 at 6:30 PM. The text of the email reads: “Shelly,
                                                             22 Plaintiff will settle at $27,500 as to Victor ONLY. Best, Kevin.”
                                                             23         6. I communicated plaintiff’s acceptance of Victor’s settlement offer to my
                                                             24 client Victor at that time. My client relied on Mr. Liebeck’s explicit and
                                                             25 unambiguous written acceptance of Victor’s settlement offer and accordingly
                                                             26 considered this case to be settled pursuant to that agreement.
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                                              Case 8:13-cv-01503-JLS-AN Document 61-2 Filed 01/21/15 Page 3 of 40 Page ID #:648



                                                             1          7. I responded to Mr. Liebeck on December 30, 2015 via an email (a true and
                                                             2    correct copy of which is attached hereto as Exhibit 2), that further confirmed our
                                                             3    agreement to settle this action: “Great. I will send you a settlement agreement.”
                                                             4          8. On January 2, 2015, I spoke to Mr. Liebeck by telephone. I advised Mr.
                                                             5    Liebeck that I would be contacting counsel for defendant Goss, Inc. (“Goss”) and
                                                             6    defendant Western Industries, Inc. (“Western”) in order to hold a local meeting of
                                                             7    counsel prior to the filing of Victor’s good faith motion.
                                                             8          9. On January 2, 2015, in reliance on the settlement agreement reached with
                                                             9    plaintiff, I sent an email to counsel for Goss and Western, a true and correct copy of
                                                             10 which is attached hereto as Exhibit 3, stating the following: “I left you both
                                                             11 voicemails. Victor has settled with plaintiff for $27,500. We would like to get a good
                       Tel: 213.896.2400 Fax: 213.896.2450




                                                             12 faith determination. I would appreciate it if you would sign the attached stipulation. If
                          400 South Hope Street, 8th Floor
Holland & Knight LLP




                                                             13 you cannot get authority to sign the stipulation, please let me know when you are
                              Los Angeles, CA 90071




                                                             14 available for a Rule 7 Local Meeting of Counsel on Victor’s Motion for a Good Faith
                                                             15 Determination and to Dismiss Cross-Complaint.” Goss' counsel subsequently
                                                             16 advised me that Goss would stipulate to the good faith of Victor's settlement with
                                                             17 Plaintiff. I prepared a motion for a good faith settlement determination.
                                                             18         10. In reliance on the settlement agreement with plaintiff, Victor and Goss
                                                             19 exchanged emails and agreed to settle the cross claims between them and a
                                                             20 Stipulation for Dismissal. A true and correct copy of the emails exchanged between
                                                             21 myself and Goss’s counsel agreeing to settle the cross-claims is attached as Exhibit 4
                                                             22 hereto. A Stipulation of Dismissal of those cross-claims was filed with this court on
                                                             23 January 7, 2015 and served on Plaintiff on January 7, 2015.
                                                             24         11. Consistent with our agreement to settle this action, on January 2, 2015, I
                                                             25 sent an email to Mr. Liebeck, (a true and correct copy of which is attached hereto as
                                                             26 Exhibit 5), which attached a formal settlement agreement and proposed Stipulation
                                                             27 for Good Faith Settlement. The text of the email stated: “Kevin, I have attached a
                                                             28 draft settlement agreement for your review and your client’s execution. I have also

                                                                                                             3
                                              Case 8:13-cv-01503-JLS-AN Document 61-2 Filed 01/21/15 Page 4 of 40 Page ID #:649



                                                             1    attached a stipulation for good faith and dismissal of the cross-claims between Victor
                                                             2    and Goss. My plan is to file the stipulation with a motion for good faith
                                                             3    determination. My hope is that all parties agree to the stipulation and that the
                                                             4    stipulation gets entered quickly. Then I will take the motion off-calendar. Please let
                                                             5    me know if you have comments on the stipulation – if not, please sign and return to
                                                             6    me. I’d like to get the stipulation circulated ASAP. Thanks Shelley”.
                                                             7          12. Finally, in further reliance on the settlement agreement between Victor
                                                             8    and plaintiff, I sent an email, (a true and correct copy of which is attached hereto as
                                                             9    Exhibit 6) to Victor’s retained expert Scott Schroeder on January 2, 2015 in which I
                                                             10 advised Mr. Schroeder that: “We have settled the Walter matter. Please do not
                                                             11 perform any further work.”
                       Tel: 213.896.2400 Fax: 213.896.2450




                                                             12         13. On January 7, 2015, Mr. Liebeck telephoned me and advised me that he
                          400 South Hope Street, 8th Floor
Holland & Knight LLP




                                                             13 intended to renege on the parties’ explicit agreement to settle this matter.
                              Los Angeles, CA 90071




                                                             14 Specifically, he said that Plaintiff would no longer dismiss his claims in exchange for
                                                             15 a payment of $27,500 because he believed Western’s expert report contained a theory
                                                             16 of liability against Victor. He did not specify what that theory was, nor did he
                                                             17 reference any theory that plaintiff had against Victor.
                                                             18         14. Western served its expert report on January 5, 2015. I reviewed Plaintiff’s
                                                             19 expert report and Western’s expert report. Western’s expert report was not directed
                                                             20 towards Victor and contains no design or manufacturing defect theory of liability
                                                             21 against the hand-held torch manufactured by Victor. Western’s expert report points
                                                             22 out that damage to the torch which appeared to have been caused by plaintiff’s
                                                             23 misuse of it might have contributed to a gas leak (a theory that is directed towards
                                                             24 plaintiff). The Western Industries’ expert report does not assert that the Victor torch
                                                             25 contained a design or manufacturing defect or that it was otherwise inherently
                                                             26 defective. Indeed, plaintiff’s own expert report also concluded that the Victor torch
                                                             27 performed properly: “. . . the Victor Turbotorch did not fail in the incident that caused
                                                             28

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                                              Case 8:13-cv-01503-JLS-AN Document 61-2 Filed 01/21/15 Page 5 of 40 Page ID #:650



                                                             1    injuries to Mr. Walter.” A true and correct copy of Plaintiff’s experts’ report is
                                                             2    attached hereto as Exhibit 7.
                                                             3          15.Attached as Exhibit 8 is a true and correct copy of pertinent excerpts from
                                                             4    plaintiff Mitchell Walter’s deposition in this matter.
                                                             5          16.Attached hereto as Exhibit 9 is a true and correct copy of Plaintiff’s
                                                             6    Supplemental Initial Disclosures.
                                                             7          I declare under penalty of perjury under the laws of the United States that the
                                                             8    foregoing is true and correct. Executed this 21st day of January 2015 at Los Angeles,
                                                             9    California.
                                                             10
                                                             11                                                   /s/      Shelley Hurwitz
                                                                                                                           Shelley Hurwitz
                       Tel: 213.896.2400 Fax: 213.896.2450




                                                             12
                          400 South Hope Street, 8th Floor
Holland & Knight LLP




                                                             13
                              Los Angeles, CA 90071




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                             EXHIBIT 1
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   From:                  Kevin Liebeck
   To:                    Hurwitz, Shelley G (LAX-X52476)
   Cc:                    Jason Caruso; Valerie Kesler
   Subject:               Walter
   Date:                  Tuesday, December 30, 2014 6:03:51 PM



   Shelly,

   Plaintiff will settle at $27,500 as to Victor ONLY.

   Best,

   Kevin


   KEVIN G. L IEBECK

   ATTORNEY AT L AW

   HODES • MILMAN • LIEBECK, LLP

   9210 IRVINE CENTER DRIVE

   IRVINE , CALIFORNIA , 92618

   T EL:      (949) 640-8222

   FAX:       (949) 336-8114

   E MAIL: KLIEBECK@HMLM.COM

   WEB:       WWW.HMLM.COM




   O FFICES IN CALIFORNIA & ARIZONA



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   promote, market or recommend any matter herein.
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                             EXHIBIT 2




                                        2
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   From:                 Hurwitz, Shelley G (LAX-X52476)
   To:                   "Kevin Liebeck"
   Cc:                   Jason Caruso; Valerie Kesler
   Subject:              RE: Walter
   Date:                 Tuesday, December 30, 2014 6:30:37 PM



   Great. I will send you a settlement agreement. Given that there is still a cross-claim pending from
   Goss, and the holiday and due date, I will still be filing the motion for summary judgment
   tomorrow.

   Shelley Hurwitz | Holland & Knight
   Partner
   400 South Hope Street, 8th Floor | Los Angeles CA 90071
   Phone 213.896.2476 | Fax 213.896.2450
   shelley.hurwitz@hklaw.com | www.hklaw.com
   ________________________________________________
   Add to address book | View professional biography
              From: Kevin Liebeck [mailto:kliebeck@hmlm.com]
              Sent: Tuesday, December 30, 2014 6:03 PM
              To: Hurwitz, Shelley G (LAX-X52476)
              Cc: Jason Caruso; Valerie Kesler
              Subject: Walter

              Shelly,

              Plaintiff will settle at $27,500 as to Victor ONLY.

              Best,

              Kevin


              KEVIN G. L IEBECK

              ATTORNEY AT L AW

              HODES • MILMAN • LIEBECK, LLP

              9210 IRVINE CENTER DRIVE

              IRVINE , CALIFORNIA , 92618

              T EL:     (949) 640-8222

              FAX:      (949) 336-8114

              E MAIL: KLIEBECK@HMLM.COM

              WEB:      WWW.HMLM.COM
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                             EXHIBIT 3




                                        3
Case 8:13-cv-01503-JLS-AN Document 61-2 Filed 01/21/15 Page 11 of 40 Page ID #:656


    From:             Hurwitz, Shelley G (LAX-X52476)
    To:               Scott,Richard L; Allegra C. Perez
    Bcc:              Thomas Richards; Joseph G. Colao
    Subject:          Walter
    Date:             Friday, January 02, 2015 11:03:04 AM
    Attachments:      Stipulation for Good Faith Settlement.DOCX
                      Order on Stipulation for Good Faith Settlement.DOCX



   Richard and Allegra,
   I left you both voicemails. Victor has settled with plaintiff for $27,500. We would like to get a good
   faith determination. I would appreciate it if you would sign the attached stipulation. If you cannot
   get authority to sign the stipulation, please let me know when you are available for a Rule 7 Local
   Meeting of Counsel on Victor’s Motion for a Good Faith Determination and to Dismiss Cross-
   Complaint.
   Thanks
   Shelley

   Shelley Hurwitz | Holland & Knight
   Partner
   400 South Hope Street, 8th Floor | Los Angeles CA 90071
   Phone 213.896.2476 | Fax 213.896.2450
   shelley.hurwitz@hklaw.com | www.hklaw.com
   ________________________________________________
   Add to address book | View professional biography
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                             EXHIBIT 4




                                        4
Case 8:13-cv-01503-JLS-AN Document 61-2 Filed 01/21/15 Page 13 of 40 Page ID #:658


    From:               Scott,Richard L
    To:                 Hurwitz, Shelley G (LAX-X52476)
    Cc:                 Scott,Richard L; Summers,Tammi G
    Subject:            RE: Mitchell Walter v. Western Industries, Inc. - Our File No. 18050
    Date:               Tuesday, January 06, 2015 11:31:23 AM



   Send me dismissal, good faith stip and confirm cost and fee waiver and I will sign. Rich.

   Richard L. Scott
   Attorney at Law
   DIEDERICH & ASSOCIATES
   1980 ORANGE TREE LANE, SUITE 106
   REDLANDS, CALIFORNIA 92374
   ____________
   DIRECT DIAL (909) 793-9015
   OFFICE MAIN (909) 793-9002
   FACSIMILE    (909) 798-7896
   MOBILE:      (951) 314-3479
   rlscott@travelers.com

   Not a Partnership or Professional Corporation
   All attorneys are Employees of The Travelers Indemnity Company and its Property Casualty Affiliates

   From: Shelley.Hurwitz@hklaw.com [mailto:Shelley.Hurwitz@hklaw.com]
   Sent: Tuesday, January 06, 2015 11:07 AM
   To: Scott,Richard L
   Cc: Cody,TJ; Summers,Tammi G; CTGoss@GossOnline.com
   Subject: RE: Mitchell Walter v. Western Industries, Inc. - Our File No. 18050

   Thanks – sounds good. Will you sign our good faith stip?

   Shelley Hurwitz | Holland & Knight
   Partner
   400 South Hope Street, 8th Floor | Los Angeles CA 90071
   Phone 213.896.2476 | Fax 213.896.2450
   shelley.hurwitz@hklaw.com | www.hklaw.com
   ________________________________________________
   Add to address book | View professional biography


               From: Scott,Richard L [mailto:RLSCOTT@travelers.com]
               Sent: Tuesday, January 06, 2015 10:39 AM
               To: Hurwitz, Shelley G (LAX-X52476)
               Cc: Cody,TJ; Scott,Richard L; Summers,Tammi G; Charles Goss (CTGoss@GossOnline.com)
               Subject: RE: Mitchell Walter v. Western Industries, Inc. - Our File No. 18050

               I have been authorized to dismiss our cross-complaint for a waiver of costs. Let me know.
               Rich.

               Richard L. Scott
               Attorney at Law
               DIEDERICH & ASSOCIATES
               1980 ORANGE TREE LANE, SUITE 106
               REDLANDS, CALIFORNIA 92374
               ____________
Case 8:13-cv-01503-JLS-AN Document 61-2 Filed 01/21/15 Page 14 of 40 Page ID #:659


         DIRECT DIAL        (909)    793-9015
         OFFICE MAIN        (909)    793-9002
         FACSIMILE          (909)    798-7896
         MOBILE:            (951)    314-3479
         rlscott@travelers.com

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         From: Shelley.Hurwitz@hklaw.com [mailto:Shelley.Hurwitz@hklaw.com]
         Sent: Monday, January 05, 2015 6:24 PM
         To: hernandezr@slmclaw.com; jcaruso@HMLM.com; Scott,Richard L
         Cc: papek@slmclaw.com; frishmand@slmclaw.com; pereza@slmclaw.com;
         carltona@slmclaw.com
         Subject: RE: Mitchell Walter v. Western Industries, Inc. - Our File No. 18050

         As previously mentioned, Victor has settled with plaintiff. Please let me know if you will
         stipulate to the good faith order. I’ve attached Victor’s expert report that was previously
         served.

         Shelley Hurwitz | Holland & Knight
         Partner
         400 South Hope Street, 8th Floor | Los Angeles CA 90071
         Phone 213.896.2476 | Fax 213.896.2450
         shelley.hurwitz@hklaw.com | www.hklaw.com
         ________________________________________________
         Add to address book | View professional biography
                  From: Rachel Hernandez [mailto:hernandezr@slmclaw.com]
                  Sent: Monday, January 05, 2015 6:19 PM
                  To: 'jcaruso@HMLM.com'; Hurwitz, Shelley G (LAX-X52476); 'rlscott@travelers.com'
                  Cc: Kara A. Pape; David Frishman; Allegra C. Perez; Amber Carlton
                  Subject: Mitchell Walter v. Western Industries, Inc. - Our File No. 18050

                  Dear Counsel:

                  Attach please find defendant Western Industries, Inc.’s Initial Disclosure of Expert
                  and Expert Report.

                  If you have any questions, please feel free to contact me.

                  Thank you.
                  Rachel Hernandez, Assistant to Allegra C. Perez

                  Rachel Hernandez
                  Legal Secretary to John H. Horwitz, Esq.,
                  Richard P. Dieffenbach, Esq.,
                  and Allegra C. Perez, Esq.
                  Schaffer, Lax, McNaughton & Chen
                  515 South Figueroa St. Suite 1400
                  Los Angeles, CA 90071
                  Phone: 1.213.337.1000 ex. 2206
                  Fax: 1.213.337.1010
                  hernandezr@slmclaw.com
                  http://www.slmclaw.com
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                             EXHIBIT 5




                                        5
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    From:             Hurwitz, Shelley G (LAX-X52476)
    To:               Kevin Liebeck
    Cc:               Jason Caruso
    Bcc:              Thomas Richards; Joseph G. Colao
    Subject:          Walter -- Settlement with victor
    Date:             Friday, January 02, 2015 10:21:41 AM
    Attachments:      Settlement Agreement Walter.DOCX
                      Stipulation for Good Faith Settlement.DOCX



   Kevin,
   I have attached a draft settlement agreement for your review and your client’s execution. I have
   also attached a stipulation for good faith and dismissal of the cross-claims between Victor and
   Goss. My plan is to file the stipulation with a motion for good faith determination. My hope is that
   all parties agree to the stipulation and that the stipulation gets entered quickly. Then I will take the
   motion off-calendar. Please let me know if you have comments on the stipulation – if not, please
   sign and return to me. I’d like to get the stipulation circulated ASAP.
   Thanks
   Shelley

   Shelley Hurwitz | Holland & Knight
   Partner
   400 South Hope Street, 8th Floor | Los Angeles CA 90071
   Phone 213.896.2476 | Fax 213.896.2450
   shelley.hurwitz@hklaw.com | www.hklaw.com
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                             EXHIBIT 6




                                        6
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    From:             Hurwitz, Shelley G (LAX-X52476)
    To:               Scott Schroeder
    Cc:               Thomas Richards; Joseph G. Colao
    Subject:          Walter
    Date:             Friday, January 02, 2015 10:48:08 AM



   Scott,
   We have settled the Walter matter. Please do not perform any further work. Thank you for your
   help and I look forward to working with you again.
   Shelley

   Shelley Hurwitz | Holland & Knight
   Partner
   400 South Hope Street, 8th Floor | Los Angeles CA 90071
   Phone 213.896.2476 | Fax 213.896.2450
   shelley.hurwitz@hklaw.com | www.hklaw.com
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                             EXHIBIT 7



                                        7
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                             EXHIBIT 8




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                                                                             #:681
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                             EXHIBIT 9



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                              CERTIFICATE OF SERVICE

        I hereby certify that on January 21, 2015, I electronically filed the foregoing
  with the Clerk of Court using the EM/ECF system which will send a notice of
  electronic filing to all counsel of record who have consented to electronic
  notification.

                                              /s/ Shelley G. Hurwitz
                                              Shelley G. Hurwitz
